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              EXHIBIT 22
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    HEYDENS , WILLIAM F [AG/1000]

   From :                      HEYDENS, WILLIAM F [AG/1000]
   Sent :                      Thursday, February 05, 2015 2:25 PM
   To:                         KOCH, MICHAEL S [AG/1000]; KOCH, MICHAEL S [AG/ 1000] ; FARMER, DONNA R
                               [AG/1000]; SALTMIRAS, DAVID A [AG/1000];

   Cc:                         LISTELLO, JENNIFER J [AG/1000]
   Subject :                   IARC Planning
   Attachments :               Work Plan xlsx




   Attached is an updated spreadsheet for our IARC preparations - we have come a long way already !
   Please let me know if you have any additions/corrections. Ongoing Activities are indicated by light blue fill
   color.

   At our next IARC Planning meeting Monday, I would like us to turn our attention to next publications (new
   Meta-analysis & WoE/Plausibility paper) - how should we go about doing them, who does what, start
   working up costs, etc.

   Please let me know if you have other ideas or comments.

   Thanks.

   Bill




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   HEYDENS , WILLIAM F [AG/1000]

   From :                      HEYDENS, WILLIAM F [AG/1000]
   Sent :                      Tuesday, February 17, 2015 4:53 PM
   To:                         KOCH, MICHAEL S [AG/1000]; FARMER, DONNA R [AG/1000]; SALTMIRAS, DAVID A
                               [AG/1000];
                               LISTELLO, JENNIFER J [AG/1000]
   Cc:                         HEYDENS, WILLIAM F [AG/1000]
   Subject :                   IARC Planning
   Attachments :               Work Plan xlsx




   Attached is an updated spreadsheet for our IARC preparations.
   Please let me know if you have any additions/corrections. Ongoing Activities are indicated by light blue fill
   color.

   We did not have our IARC Planning meeting Monday due to the site being closed. However, Donna and I had a
   phone conference with John Acquavella today, and this resulted in several additions which are on page 4 of
   the attached Work Plan document.

   Please let me know if you have other ideas or comments.

   Thanks.

   Bill




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    HEYDENS , WILLIAM F [AG/1000]

   From :                      HEYDENS, WILLIAM F [AG/1000]
   Sent :                      Tuesday, February 17, 2015 4:53 PM
   To:                         KOCH, MICHAEL S [AG/1000]; FARMER, DONNA R [AG/1000]; SALTMIRAS, DAVID A
                               [AG/1000];
                               LISTELLO, JENNIFER J [AG/1000]
   Cc:                         HEYDENS, WILLIAM F [AG/1000]
   Subject :                   IARC Planning
   Attachments :               Work Plan xlsx




   Attached is an updated spreadsheet for our IARC preparations.
   Please let me know if you have any additions/corrections. Ongoing Activities are indicated by light blue fill
   color.

   We did not have our IARC Planning meeting Monday due to the site being closed. However, Donna and I had a
   phone conference with John Acquavella today, and this resulted in several additions which are on page 4 of
   the attached Work Plan document.

   Please let me know if you have other ideas or comments.

   Thanks.

   Bill




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   HEYDENS , WILLIAM F [AG/1000]

   From :                       SALTMIRAS, DAVID A [AG/1000]
   Sent :                       Thursday, February 19, 2015 4:01 PM
   To:                          HEYDENS, WILLIAM F [AG/1000]; FARMER, DONNA R [AG/1000]
   Cc:                          KOCH, MICHAEL S [AG/1000]; HODGE-BELL, KIMBERLY C [AG/1000]
   Subject :                    RE: IARC Planning


   Bill et al.,

   I had an extended chat with Roger this afternoon, as is the custom. He said that Critical Reviews has already dedicated
   some significant space to the glyphosate topic, especially the pending issue #3 with both the carc paper & Kier paper.
   However, to the contrary, he did say he'd consider something along the lines of the 1, 3 - butadiene issue... I think we
   would have to prepare a very compelling story.

   DavidSa(tmiras, Ph-D., D._,^L.B.'
   Science Fellow
   Novel Chemistry and Microbials Product Lead
   Toxicology and Nutrition Center
   Monsanto
   ph


             From : HEYDENS, WILLIAM F [AG/1000]
             Sent : Thursday, February 19, 2015 7:53 AM
             To: FARMER, DONNA R [AG/1000]
             Cc: KOCH, MICHAEL S [AG/1000]; SALTMIRAS, DAVID A [AG/1000]; HODGE-BELL, KIMBERLY C [AG/1000]
             Subject : RE: IARC Planning

             Donna,

             Per our phone call with John the other day, the next two most important things that we need to do are
             the Meta-analysis publication and the Ag Health Study Follow-up publication, assuming we can get our
             hands on the data in a reasonable timeframe. I feel confident that we will have organizational support
             for doing these projects, so I think we need to start setting them up now.

             For the meta-analysis, please contact Elizabeth, let her know we would like her/Ellen to do this, and
             get a cost estimate from her.

             For the AHS data, I heard 2 action items during our call: first - get with the lawyers to initiate the FOI
             process; second - contact Tom Sorohan and get him lined up to do the analysis when we get the data;
             also, get a cost estimate from him.

             For the overall plausibility paper that we discussed with John (where he gave the butadiene example),
             I'm still having a little trouble wrapping my mind around that. If we went full-bore, involving experts
             from all the major areas (Epi, Tox, Genetox, MOA, Exposure - not sure who we'd get), we could be
             pushing $250K or maybe even more. A less expensive/more palatable approach might be to involve
             experts only for the areas of contention, epidemiology and possibly MOA (depending on what comes
             out of the IARC meeting), and we ghost-write the Exposure Tox & Genetox sections. An option would
             be to add Greim and Kier or Kirkland to have their names on the publication, but we would be keeping
             the cost down by us doing the writing and they would just edit & sign their names so to speak. Recall
             that is how we handled Williams Kroes & Munro, 2000.
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           One thing we could do now on this is to contact Roger McClellan at CRC and see if they would be
           amenable to putting this publication in Crit. Rev. Toxicol. John said he knew that Roger had done such a
           publication in the past . David , since you have worked with Roger on the other papers, would you be
           willing to contact him to judge his willingness to publish such a paper?

           Any other thoughts welcomed.




           From : HEYDENS, WILLIAM F [AG/1000]
           Sent : Tuesday, February 17, 2015 4:53 PM
           To: KOCH, MICHAEL S [AG/1000]; FARMER, DONNA R [AG/1000]; SALTMIRAS, DAVID A [AG/1000];
                                                              LISTELLO, JENNIFER J [AG/1000]
           Cc: HEYDENS, WILLIAM F [AG/1000]
           Subject : IARC Planning




           Attached is an updated spreadsheet for our IARC preparations.
           Please let me know if you have any additions /corrections . Ongoing Activities are indicated by light blue
           fill color.

           We did not have our IARC Planning meeting Monday due to the site being closed . However, Donna
           and I had a phone conference with John Acquavella today, and this resulted in several additions which
           are on page 4 of the attached Work Plan document.

           Please let me know if you have other ideas or comments.

           Thanks.

           Bill




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    HEYDENS , WILLIAM F [AG/1000]

   From :                                                         n@cheminova.com]
   Sent :                             Monday, February 23, 2015 8:10 AM
   To:                                FARMER, DONNA R [AG/1000]; HEYDENS, WILLIAM F [AG/1000];
                                                     @de.adama.com';               SALTMIRAS, DAVID A [AG/1000];
                                      HODGE-BELL, KIMBERLY C [AG/1000]; KOCH, MICHAEL S [AG/1000]
   Cc:                                Kimberly Bell
   Subject :                          RE: IARC Meeting 112
   Attachments :                      WorkingSchedule-Vol.112.doc


   Dera Donna and All
   Thank you for the very useful discussion;
   It was nice speaking to you all and I look forward to meeting          and           in person.

   Please find attached the more detailed draft working schedule that I received from Kathryn Guyton.

   In line with what            said, Kathryn pointed out that the working schedule may change depending on the progress of
   the Working Groups.
   She also said that " We'd be grateful if you could let us know your attendance plans",
   I interpret this as if although we are free to attend any of the sessions as observers, the IARC would nevertheless
   appreciate to know our plans beforehand.               and           is it also your experience that we should let IARC know
   in advance which sessions we plan to attend?

   best regards




   Cheminova A/S
   Senior Regulatory Scientist - Toxicology - Direct +




   From : FARMER, DONNA R [AG/1000] [ maiIto: donna. r.farmer@) monsanto.com ]
   Sent : 23. februar 2015 04:26
   To: FARMER, DONNA R [AG/1000]; HEYDENS, WILLIAM F [AG/1000];                 pp@de.adama.com';
                              SALTMIRAS, DAVID A [AG/1000]; HODGE-BELL, KIMBERLY C [AG/1000]; KOCH, MICHAEL S
   [AG/ 1000]
   Cc: Kimberly Bell
   Subject : RE: IARC Meeting 112


   -----Original Appointment-----
   From : FARMER, DONNA R [AG/1000]
   Sent: Wednesday, February 18, 2015 8:59 AM
   To: FARMER, DONNA R [AG/1000]; HEYDENS, WILLIAM F [AG/1000];                   pp@de.adama.com';
                              SALTMIRAS, DAVID A [AG/1000]; HODGE-BELL, KIMBERLY C [AG/1000]; KOCH, MICHAEL S
   [AG/ 1000]
   Cc: Kimberly Bell
   Subject : IARC Meeting 112
   When : Monday, February 23, 2015 7:00 AM-8:00 AM (UTC-06:00) Central Time (US & Canada).
   Where : Conf Call
                                                                   1



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    HEYDENS , WILLIAM F [AG/1000]

    From :                      John Acquavella
    Sent:                       Monday, February 23, 2015 5:12 PM
    To:                         FARMER, DONNA R [AG/1000]
    Cc:                         HEYDENS, WILLIAM F [AG/1000]
    Subject :                   Re: IARC Meeting 112


    Donna/Bill:

    The schedule looks favorable. Since it will be Thursday before the workgroup starts to discuss the glyphosate
    draft and I assume       will get a copy of the glyphosate draft on Tuesday,       will have time to assess the
    key issues and give us a read on the draft before the initial IARC discussions. That would provide time to give
    any support he thinks necessary.

    John



            On Feb 23, 2015, at 1:00 PM, FARMER, DONNA R [AG/1000]
            <              @monsanto . com> wrote:

            We had a conf call this morning with the 3 observers and the attached schedule was provided to the
                         the observer from Cheminova,         received a more generic schedule and
                  from ADAMA did not receive anything.



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